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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="e9602c6bdb"&gt;&lt;span data-sentence-id="e9602c6bdb" quote="false" data-paragraph-id="e9602c6bdb"&gt;The People of the State of Colorado in the interest of:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12dfdcdbac"&gt;&lt;span data-sentence-id="5649fac79a" quote="false" data-paragraph-id="12dfdcdbac"&gt; The People of the State of Colorado and N.J.H-G., Jr., Petitioners &lt;br /&gt; v.&lt;/span&gt; &lt;br /&gt; N.J.G. Respondent &lt;/p&gt;&lt;p data-paragraph-id="fbabda6ab9"&gt;No. 24SC378&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="68ed461a5c"&gt;&lt;span data-sentence-id="b1589bf6af" quote="false" data-paragraph-id="68ed461a5c"&gt; Court of Appeals Case No. 23CA1851 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="e0eb6ce499"&gt;&lt;span data-sentence-id="6e54491794" quote="false" data-paragraph-id="e0eb6ce499"&gt; Petitions for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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